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  11
                         IN THE UNITED STATES DISTRICT COURT
  12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
  13
                                   WESTERN DIVISION
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  15
  16   AMERICANS FOR PROSPERITY               2:14-CV-09448-R-FFM
       FOUNDATION,
  17                                           DEFENDANT’S MOTION IN
                                    Plaintiff, LIMINE NUMBER THREE RE:
  18                                           EXCLUSION OF TESTIMONY BY
                   v.                          DR. PAUL SCHERVISH
  19
                                              Date:        February 16, 2016.
  20   KAMALA HARRIS, in her Official         Time:        11:00 a.m.
       Capacity as Attorney General of the    Courtroom:   8, 2nd Floor
  21   State of California,                   Judge:       The Honorable Manuel
                                                           L. Real
  22                              Defendant. Trial Date: 2/23/2016
                                             Action Filed: 12/9/2014
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   1                                NOTICE OF MOTION
   2        TO ALL PARTIES AND THEIR COUNSEL OF RECORD: PLEASE TAKE
   3   NOTICE THAT on February 16, 2016 at 11:00 a.m., or as soon thereafter as this
   4   matter may be heard in Courtroom 8 of the United States District Court for the
   5   Central District of California, located at 312 North Spring Street, Los Angeles,
   6   California, Defendant Attorney General Kamala D. Harris, in her official capacity,
   7   will and hereby does move to exclude the testimony of Plaintiff’s proposed expert,
   8   Dr. Paul Schervish, pursuant to Federal Rule of Civil Procedure 16(c)(2)(C) and
   9   Federal Rules of Evidence 403, 702, and 703.
  10        This motion is based on the Notice of Motion, the accompanying motion in
  11   limine, the Declaration of Jose A. Zelidon-Zepeda with its accompanying exhibits,
  12   the arguments of counsel, the record in this action, and any matters upon which the
  13   Court may or must take judicial notice.
  14        This motion is made following the conference of counsel pursuant to Local
  15   Rule 37-1, which took place on January 26, 2016.
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   1                                    INTRODUCTION
   2        Defendant moves for an order in limine precluding Plaintiff Americans for
   3   Prosperity Foundation from submitting any testimony by their proposed expert, Dr.
   4   Paul Schervish. Alternatively, Dr. Schervish should not be permitted to testify
   5   about the “reasonableness” or “legitimacy” of purported donor concerns. Dr.
   6   Schervish’s testimony should be excluded because (1) Dr. Schervish is not an
   7   expert in donor’s reactions to government disclosure requirements; (2) Dr.
   8   Schervish’s testimony is not based on the same level of intellectual rigor that
   9   characterizes the practice of his field of sociology; (3) Dr. Schervish’s testimony
  10   lacks a factual basis and does nothing more than speculate based on hearsay that
  11   has been relayed to him by employees of the Foundation; and (4) his testimony will
  12   not assist the Court.
  13                                     BACKGROUND
  14        This case raises claims under the First Amendment. Plaintiff alleges that the
  15   requirement under state law that charitable organizations disclose Schedule B to
  16   Internal Revenue Service (IRS) Form 990 violates its First Amendment association
  17   and speech rights.
  18        Plaintiff has disclosed Dr. Paul Schervish, a sociologist who purports to
  19   provide testimony about “whether and to what extent the Foundation and its donors
  20   and potential donors may reasonably fear loss of anonymity and disclosure of their
  21   identities,” and the extent to which “donors’ participation and support may be
  22   chilled” if disclosure of their identity takes place. Declaration of Jose A. Zelidon-
  23   Zepeda (Zepeda Decl.), Ex. 1 [Expert Report of Dr. Paul G. Schervish (Schervish
  24   Report)] at 3. This is not a proper subject of expert testimony nor is it within Dr.
  25   Schervish’s expertise as a sociologist. Dr. Schervish opines that the Foundation’s
  26   donors and potential donors have “legitimate” or “reasonable” fears. Id. at 9 ¶ 18.
  27   But in formulating his opinions in this case, Dr. Schervish did not meet with or
  28   even learn the identity of any of the Foundation’s donors or potential donors.

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   1   Zepeda Decl. Ex. 2 [Deposition of Dr. Paul Schervish (Schervish Dep.)] at 90:9-18.
   2   Instead, as Dr. Schervish’s expert report and deposition transcript make clear, his
   3   “expert opinion” relies on secondhand hearsay as its factual basis, namely the
   4   deposition transcripts of various staff working for the Foundation. Id. at 192:6-22.
   5        Dr. Schervish ‘s opinion does not constitute the application of “reliable
   6   principles and methods” as required by Federal Rule of Evidence 702. For
   7   example, he did not report any weaknesses in his expert opinion in his report, and
   8   baldly stated that he did not think it necessary, in contravention of the requirements
   9   of the Federal Rules of Evidence. Id. at 56:5-21. And although his regular research
  10   in sociology requires that he utilize a particular methodology, he did not perform
  11   these same tasks in preparing his expert report and opinion in this case. Id. at
  12   201:23-202:3. The methodology that is standard in the field is an attempt to reduce
  13   the sociologist’s bias by having other colleagues review the results or using
  14   statistical analyses to assess the results and conclusions derived. Id. at 21:10-14;
  15   22:13-23:12. Dr. Schervish’s opinion does not meet the standards for expert
  16   testimony under the law, and thus should be excluded. At a minimum, the Court
  17   should rule in limine that Dr. Schervish cannot testify about whether purported
  18   donor concerns are “legitimate” and “reasonable” because the veracity or
  19   motivation of another witness’ testimony is not a proper subject for expert opinion.
  20                                  LEGAL STANDARD
  21        Federal Rule of Evidence 702 permits expert testimony only from a witness
  22   who is “qualified as an expert by knowledge, skill, experience, training, or
  23   education.” General qualifications as an expert are not sufficient, however. Rather,
  24   an expert witness must be qualified in the specific subject for which his testimony
  25   is offered. See Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 590-91
  26   (1993). Rule 702 also “places limits on the areas of expertise and the
  27   methodologies of analysis which may be covered and used by an expert witness.”
  28   DSU Med. Corp. v. JMS Co., Ltd., 296 F. Supp. 2d 1140, 1146 (N.D. Cal. 2003).
                                                 2
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   1   Expert witness testimony is admissible if it will assist the trier of fact to determine a
   2   fact at issue; is based on sufficient facts or data, is the product of reliable principles
   3   and methods; and the expert has reliably applied the principles and methods to the
   4   facts of the case. Fed. R. Evid. 702. These requirements are meant to help “ensure,
   5   as a condition of admissibility, that proffered expert testimony rests on a
   6   sufficiently trustworthy foundation.” Crowe v. Marchand, 506 F.3d 13, 17 (1st Cir.
   7   2008) (citing Daubert, 509 U.S. at 597). Rule 702 requires that the Court serve as a
   8   gatekeeper ensure that all expert testimony “is not only relevant, but
   9   reliable.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999) (citing
  10   Daubert, 509 U.S. at 589).
  11                                        ARGUMENT
  12   I.   DR. SCHERVISH’S OPINION DOES NOT SATISFY THE
            REQUIREMENTS OF RULE 702 AND DAUBERT AND THUS HIS
  13        TESTIMONY SHOULD BE EXCLUDED
  14
            Dr. Schervish’s testimony regarding how donors would feel and/or behave in
  15
       response to disclosure to the Attorney General of Schedules B should be excluded.
  16
            First, even assuming that it were a proper subject of expert opinion, and it is
  17
       not, Dr. Schervish’s expertise does not extend to predicting how donors will react
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       to a charity making a non-public disclosure to the Attorney General. The expert
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       report prepared by Dr. Schervish largely consists of unsupported factual allegations
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       that are unrelated to his field of expertise, which is sociology. Sociology is the
  21
       study of the social lives of people, groups and societies, and Professor Schervish
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       has researched what motivates some wealthy people to donate. Zepeda Decl. Ex. 1
  23
       [Schervish Report] at ¶ 11. However, nothing in that experience -- or in his training
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       -- provides Dr. Schervish with a special ability to draw inferences regarding the
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       subjective state of mind or probable behavior of donors in this case. His only
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       expert testimony is that some wealthy donors sometimes prefer to give
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   1   anonymously because they do not want their identities known to the public. Id. at ¶
   2   24. Everything else is nothing more than inadmissible speculation.
   3        Second, because Dr. Schervish possesses no special expertise, he is in no
   4   better position than the Court as trier of fact to determine from the evidence
   5   whether (and if so, what) the effect on donors or potential donors of compliance
   6   with the state law requirement to disclose Schedule B to the Attorney General for
   7   non-public use would be. See Beech Aircraft Corp. v. United States, 51 F.3d 834,
   8   842 (9th Cir. 1995) (holding that trial court properly excluded from bench trial the
   9   proposed testimony of experts as to what could be heard in a tape-recorded
  10   conversation because “hearing is within the ability and experience” of the
  11   factfinder); United States v. Finley, 301 F.3d 1000, 1009-10 (9th Cir. 2002) (noting
  12   that medical expert who merely recites the allegations of the alleged victim “in the
  13   guise of a medical opinion... does not assist the trier of fact as required by Rule
  14   702”) (quotations and citations omitted); Wendler & Ezra, P.C. v. American Intern.
  15   Group, Inc., 521 F.3d 790, 791 (7th Cir. 2008) (“An expert who supplies nothing
  16   but a bottom line supplies nothing of value to the judicial process.”). Dr.
  17   Schervish’s opinion therefore is neither expert testimony, reliable, nor helpful to the
  18   Court, as required by Federal Rule of Evidence 702.
  19        Third, Dr. Schervish’s opinion is also inadmissible because he did not prepare
  20   it with the same intellectual rigor that he would use in his field; in fact, as he
  21   testified at deposition, its rigor is laughable. Zepeda Decl. Ex. 2 [Schervish Dep.]
  22   at 204: 5-9. Rule 702 requires that expert testimony be “based on sufficient facts or
  23   data” and that it be “the product of reliable principles and methods,” which the
  24   expert has applied to the facts of the case. Under the caselaw, “an expert, whether
  25   basing testimony upon professional studies or personal experience, [must] employ[]
  26   in the courtroom the same level of intellectual rigor that characterizes the practice
  27   of an expert in the relevant field.” Kumho Tire Co., 526 U.S. at 152. Courts are not
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   1   required “to admit opinion evidence that is connected to existing data only by the
   2   ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).
   3        Here, Dr. Schervish’s opinion is not a product of reliable methods used in
   4   sociology. Specifically, Dr. Schervish did not identify any weaknesses in his
   5   report, whereas sociologists identify any weaknesses in their analysis as part of
   6   their usual practice. Moreover, a sociologist usually describes the methodology
   7   used in deriving a given conclusion, yet Dr. Schervish’s expert report in this case
   8   does not do so.
   9        At his deposition, Dr. Schervish explained the importance of methodology in
  10   the field of sociology: “That is what is written up in every good research piece.
  11   What are the benefits and what are the limitations of that methodology.” Zepeda
  12   Decl. Ex. 2 [Schervish Dep.] at 19:11-13. Methodology is important because it
  13   helps reduce the researcher’s bias. Id. at 21:3-5. Yet, despite the importance of
  14   methodology in sociology, he conceded that his expert report “doesn’t have a
  15   section on methodology,” although methodology is supposedly “put into each of the
  16   points.” Id. at 207:15-24. Moreover, contrary to the usual practice in sociology,
  17   Dr. Schervish stated that he did not state the weaknesses of his conclusions in his
  18   expert report in this case. Id. at 56:11-14; 208:6-12. He asserted that doing this is
  19   “not necessary,” and that he does not consider it his duty in preparing an expert
  20   report. Id. at 56:11-21. Indeed, he stated that he would not submit his expert report
  21   in this case to a peer reviewed journal, and that “[t]hey would laugh” at him if he
  22   did so. Id. at 204: 5-9.
  23        Fourth and separate from the methodology question, Dr. Schervish lacks a
  24   sufficient factual basis from which to form an opinion about the alleged fears and
  25   behavior of the Foundation’s donors. Specifically, Dr. Schervish has not spoken to
  26   a single Foundation donor about any a fears, threats, or hesitancy to donate if the
  27   Foundation submitted a Schedule B to the Attorney General. See Zepeda Decl. Ex.
  28   2 [Schervish Dep.] at 90:9-18. Instead, as Dr. Schervish’s expert report and
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   1   deposition make clear, his “expert opinion” relies primarily on secondhand hearsay
   2   as its factual basis, namely conversations with and the deposition transcripts of
   3   various staff working for the Foundation. Id. at 192:6-22; Zepeda Decl. Ex. 1
   4   [Schervish Report] at ¶ 4 (factual basis for opinion are (1) declarations of Mark
   5   Holden and Christopher Fink; 1 (2) a conversation with Fink; and (3) email threats
   6   to Foundation staff and Mssrs. Kochs provided by the Foundation); 2 Ex. B
   7   (reviewed deposition testimony of Fink).
   8        This evidence is both patently self-serving and an insufficient basis for reliable
   9   testimony under Rule 703. When expert opinions are premised on hearsay
  10   information, the Court must ensure that the testimony both rests on a reliable
  11   foundation and is relevant to the task at hand. U.S. v. Jawara, 474 F.3d 565, 582
  12   (9th Cir. 2007); see Gong, 913 F.2d at 1272-73 (“In applying the requirement of
  13   Rule 703 that the information forming the basis of the expert’s opinion be ‘of a type
  14   reasonably relied upon by experts,’ ‘the trustworthiness of the underlying data is
  15   not irrelevant.’”). The hearsay evidence Dr. Schervish relied on is inherently
  16   unreliable, as it came from the Foundation’s officers—interested parties to this
  17   litigation—without any corroboration from other parties. Numerous courts have
  18   recognized that expert opinion based on this type of information provided by an
  19   interested witness is not sufficiently reliable under Rule 703. Faries v. Atlas Truck
  20         1
                It is worth noting that this hearsay is also irrelevant to Plaintiff’s actual
  21   burden in this litigation to show First Amendment harm from disclosure to the
       Attorney General. As the Ninth Circuit found, Fink’s declaration “does not show
  22   that any donor has declined, or would decline, to support the Foundation as a result
       of” worry about disclosure to the Attorney General. Americans for Prosperity
  23   Foundation v. Harris, 809 F.3d 536, 540 (9th Cir. 2015)..
              2
                None of the emails and documents listed in Exhibit B to Dr. Schervish’s
  24   report contain communications from donors. See Exhibit B at 4-6. Only one
       document—an almost entirely redacted “Notes” document apparently written by an
  25   unidentified Foundation staff member—even mentions a donor. See id. at 5. In
       addition, none of the “threats” included in the emails reviewed by Dr. Schervish
  26   related to donors other than Mssrs. Koch. These emails describe or include angry
       messages directed to Foundation staff or sent to generic Americans for Prosperity
  27   email accounts; many in response to the sender’s inclusion on Americans for
       Prosperity’s email blast list.
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   1   Body Mfg. Co., 797 F.2d 619, 624 (8th Cir. 1986) (proposed expert opinion
   2   regarding excessive speed premised on eyewitness account); see also Dallas &
   3   Mavis Forwarding Co. v. Stegall, 659 F.2d 721, 722 (6th Cir. 1981) (state trooper’s
   4   opinion derived primarily from story of biased eyewitness inadmissible as expert
   5   opinion); In re Agent Orange Products Liability Litigation, 611 F. Supp. 1223,
   6   1243-47 (E.D.N.Y. 1985) (medical expert opinion on causation premised mainly on
   7   a self-serving symptom checklists prepared by one party inadmissible because no
   8   expert would reasonably rely on such information).
   9         The Court should likewise exclude the proposed expert opinion of Dr.
  10   Schervish, which is premised on the hearsay, self-serving testimony and
  11   declarations of the Foundation’s officers.
  12   II.   AT A MINIMUM, THE COURT SHOULD PRECLUDE DR. SCHERVISH FROM
             TESTIFYING ABOUT WHETHER THE CONCERNS OF THE FOUNDATION’S
  13         DONORS AND POTENTIAL DONORS ARE “CREDIBLE” OR “LEGITIMATE”
  14
             If the Court denies the motion to exclude Dr. Schervish’s opinion in its
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       entirety, the Court should preclude him from testifying about whether the
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       Foundation’s donors or potential donors purported fears or concerns regarding
  17
       anonymity are “reasonable,” “legitimate,” or otherwise credible.
  18
             Witnesses, expert or otherwise, cannot testify about another witness’
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       credibility. U.S. v. Funds Held in the Name or for the Benefit of John Hugh
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       Wetterer, 991 F. Supp. 112, 120 (E.D.N.Y. 1998) (“this Court is reluctant to give
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       credence to the testimony of an expert as to the credibility of a witness”). As the
  22
       Second Circuit has noted, “expert witnesses may not offer opinions on relevant
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       events based on their personal assessment of the credibility of another witness’s
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       testimony.” U.S. v. Scop, 846 F.2d 135, 142, rev’d in part on other grounds, 856
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       F.2d 5 (2d Cir. 1988). This applies even for “expert witnesses possessed of medical
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       knowledge and skills that relate directly to credibility.” Id.; see also U.S. v. Richter,
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       826 F.2d 206, 208 (2d. Cir. 1987)..
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   1         Here, Dr. Schervish’s opinion that the fears of the Foundation’s donors and
   2   potential donors are “legitimate” or “reasonable” is a backdoor attempt to bolster
   3   the credibility of these second hand reports. The Court should exclude this
   4   testimony.
   5                                     CONCLUSION
   6         For these reasons, the Court should exclude Dr. Schervish’s expert opinions at
   7   trial. Alternatively, the Court should preclude Dr. Schervish from testifying about
   8   another witness’ credibility or the “reasonableness” or “legitimacy” of the
   9   purported fears of donors and potential donors to the Foundation.
  10
  11
  12
       Dated: February 2, 2016                      Respectfully submitted,
  13
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  14                                                Attorney General of California
                                                    TAMAR PACHTER
  15                                                Supervising Deputy Attorney
                                                    General
  16                                                ALEXANDRA ROBERT GORDON
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                                                    /s/ Jose A. Zelidon-Zepeda
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